Case 1:18-cv-00934-FB-ST

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December 4, 2019

Hon. Frederic Block

United District Court

Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

Re: Sultan v. Coinbase
Docket No. 1: 18-cv-00934-FB-ST

Honorable Block:
The undersigned are attorneys for the Plaintiff in the above entitled action.
I wish to advise you that the above entitled action has been settled and all issues ultimately

resolved between the parties.

Respectfully yours,

THEDWECK LAW FIRM
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By: =
Jack S. Dweck/

JSD: sc
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